     Case 9:17-cv-00050-DLC-JCL Document 107 Filed 09/24/18 Page 1 of 4



Marc J. Randazza (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
2764 Lake Sahara Drive, Suite 109
Las Vegas, Nevada 89117
Tel: (702) 420-2001
ecf@randazza.com
Jay M. Wolman (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
100 Pearl Street, 14th Floor
Hartford, Connecticut 06103
Tel: (702) 420-2001
ecf@randazza.com
Mathew M. Stevenson, St. Bar # 6876
STEVENSON LAW OFFICE
1120 Kensington, Suite B
Missoula, MT 59801
Tel: (406) 721-7000
matstevenson@bigskylegal.com

Attorneys for Defendant,
Andrew Anglin

                    UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION


                                      )
TANYA GERSH,                          )   Case No. 9:17-cv-50-DLC-JCL
                                      )
             Plaintiff,               )
                                      ) DEFENDANT’S OPPOSITION TO
       vs.
                                      )      MOTION TO STRIKE
ANDREW ANGLIN,                        )
                                      )
             Defendant.               )
                                      )
                                      )
     Case 9:17-cv-00050-DLC-JCL Document 107 Filed 09/24/18 Page 2 of 4



          DEFENDANT’S OPPOSITION TO MOTION TO STRIKE
      Under Fed. R. Civ. P. 72(b)(3), this Court reviews the Magistrate Judge’s
disposition of the pending motion to dismiss for failure to state a claim de novo.
Thus, for such de novo review, Defendant, Andrew Anglin, believed the Sixth
Circuit’s recent decision in Nwanguma v. Trump to be pertinent as the allegations
against him are akin to the allegations against then-Candidate Trump and the
identical First Amendment principles apply. Local Rule 7.4 does not provide for
striking notices of supplemental authority with which an opposing party disagrees.
In fact, the only rule that governs striking documents is Fed. R. Civ. P. 12(f), which
only permits the striking of a “pleading.”
      The notice meets the requirements of the Rule. The Court is capable of
determining whether the Nwanguma decision is pertinent, and what weight to give
it. Striking the notice is not permitted, nor does it make any sense.
      Plaintiff has already, in the form of her motion, filed a substantive response
to the notice. However, if there is more Plaintiff wishes to say, Defendant will not
object to Plaintiff’s requested alternative relief, for leave to respond.

      Dated: September 24, 2018.         Respectfully submitted,
                                         /s/ Marc J. Randazza
                                         Marc J. Randazza (pro hac vice)
                                         RANDAZZA LEGAL GROUP, PLLC
                                         2764 Lake Sahara Drive, Suite 109
                                         Las Vegas, Nevada 89117
                                         /s/ Jay M. Wolman
                                         Jay M. Wolman (pro hac vice)
                                         RANDAZZA LEGAL GROUP, PLLC
                                         100 Pearl Street, 14th Floor
                                         Hartford, Connecticut 06103




                                          -1-
                         Defendant’s Response to Motion to Strike
                                  9:17-cv-50-DLC-JCL
Case 9:17-cv-00050-DLC-JCL Document 107 Filed 09/24/18 Page 3 of 4



                                /s/ Mathew M. Stevenson
                                Mathew M. Stevenson
                                STEVENSON LAW OFFICE
                                1120 Kensington, Suite B
                                Missoula, MT 59801
                                Attorneys for Defendant,
                                Andrew Anglin




                                 -2-
                Defendant’s Response to Motion to Strike
                         9:17-cv-50-DLC-JCL
     Case 9:17-cv-00050-DLC-JCL Document 107 Filed 09/24/18 Page 4 of 4




                                                      Case No. 9:17-cv-50-DLC-JCL

                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on September 24, 2018, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I further certify

that a true and correct copy of the foregoing document being served via transmission

of Notices of Electronic Filing generated by CM/ECF.

                                       /s/ Marc J. Randazza
                                       Marc J. Randazza




                                        -3-
                       Defendant’s Response to Motion to Strike
                                9:17-cv-50-DLC-JCL
